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 5
                                UNITED STATES DISTRICT COURT
 6                             WESTERN DISTRICT OF WASHINGTON

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                                                    )
                                                      Case No. 3:24-cv-05466-TMC
 8   JULIE JAMAN,                                   )
                                                    )
 9                         Plaintiff,
                                                    ) ORDER GRANTING JOINT MOTION TO
                   v.                               ) STAY
10
     CITY        OF      PORT         TOWNSEND, )
11   WASHINGTON; JOHN MAURO, in his )
     official and personal capacities; THE )
12   OLYMPIC PENINSULA YMCA; WENDY )
     BART. In her official and personal capacities; )
13   ROWEN DELUNA, in her official and )
14   personal capacities; ERIN HAWKINS, in her )
     official and personal capacities; and JOHN )
15   DOES 1–10, in their official and personal )
     capacities,                                    )
16                                                  )
                           Defendants.              )
17                                                  )
18          This matter is before the Court on the parties’ joint motion to stay. For good cause shown,
19 the Court hereby ORDERS that (1) all pending deadlines and proceedings in this matter—

20 including but not limited to the YMCA Defendants’ Motion to Dismiss / Motion for Judgment on

21 the Pleadings—are hereby stayed and (2) the parties shall file a joint status report on or before

22 March 20, 2025, with an update on progress toward settlement, whereupon the Court may

23 determine whether a further stay is warranted. If no settlement is reached and the parties (or a

24 party) seek(s) to lift the stay, the parties will propose new case deadlines to govern this matter after

25 the stay.

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 1   IT IS SO ORDERED.
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     Dated this 19th day of February, 2025.
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 4                                                _________________________
                                                  Tiffany M. Cartwright
 5
                                                  United States District Judge
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